Case 2:05-cr-14090-JEM Document 338 Entered on FLSD Docket 03/05/2007 Page 1 of 2

                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF FLORIDA
                          FORT PIERCE DIVISION
                CASE NO. 05-14090-CR-MARTINEZ/LYNCH


  UNITED STATES OF AMERICA

                 Plaintiff,

  vs.

  JAMES P. HOLLIS,

               Defendant.
  ____________________________/


        ORDER ADOPTING MAGISTRATE'S REPORT AND RECOMMENDATION

        THIS CAUSE came before the Court upon Order of Reference
  from District Court to conduct a Change of Plea before a
  Magistrate Judge.
        THE MATTER was referred to Magistrate Judge Frank J. Lynch,

  on February 15,2007.      A Report and Recommendation was filed on
  February 16,2007, recommending that the Defendant’s plea of
  guilty be accepted.      The Defendant and the Government were
  afforded the opportunity to file objections to the Report and
  Recommendation, however none were filed. The Court has conducted
  a de novo review of the entire file. Accordingly, it is
        ORDERED AND ADJUDGED that

        The Report and Recommendation of United States Magistrate

  Judge Frank J. Lynch, is hereby Adopted and Approved in its

  entirety. The Defendant is adjudged guilty to Count One and Count

  Nine of the Indictment in this case. Count One charges the

  Defendant and co-defendants devised and intended to devise a

  scheme and artifice to defraud and to obtain money by means of

  false and fraudulent pretenses, representations and promises, in

  violation of Title 18, United States Code, Section 371.
Case 2:05-cr-14090-JEM Document 338 Entered on FLSD Docket 03/05/2007 Page 2 of 2


  For the purposes of executing the scheme, in Count Nine, the

  defendant and co-defendants Bogdan, Brant and Gary St. Laurent

  did knowingly cause interest payments of $250 and $250 via USPS

  to investors “PS and DS” relating to investments of $30,000 and

  $30,000 knowing that the payments were not from earnings on the

  original investments but from new investor funds, all in

  violation of Title 18, United States Code, Sections 1341 and 2.

  The government agrees to seek dismissal of Counts Four, Five, Six

  and Eight of the Indictment, as to this Defendant, after

  sentencing.

        DONE AND ORDERED in Chambers at Miami, Florida, this 5

  day of March, 2007.

                                       __________________________
                                       JOSE E. MARTINEZ
                                       UNITED STATES DISTRICT JUDGE




  Copied: Hon. Magistrate Lynch
          All Counsel Of Record
          U.S.Probation
